     Case 3:18-cv-00428-DMS-MDD Document 217 Filed 09/10/18 PageID.3428 Page 1 of 2


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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER SETTING FURTHER
13     v.                                                  STATUS CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           A status conference was held on September 7, 2018. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    Counsel shall file a further status report on or before September 13, 2018.
21     2.    A further status conference shall be held on September 14, 2018, at 1:00 p.m. The
22     dial-in number for any counsel who wish to listen in only and members of the news media
23     is as follows.
24           1.     Dial the toll free number: 877-411-9748;
25           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
26                  Court activates the conference call);
27           3.     Enter the Participant Security Code 09140428 and Press # (The security code
28                  will be confirmed);

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                                                                               18cv0428 DMS (MDD)
     Case 3:18-cv-00428-DMS-MDD Document 217 Filed 09/10/18 PageID.3429 Page 2 of 2


 1           4.       Once the Security Code is confirmed, participants will be prompted to Press
 2                    1 to join the conference or Press 2 to re-enter the Security Code.
 3     Members of the general public may attend in person. All persons dialing in to the
 4     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 5     proceedings.
 6     Dated: September 10, 2018
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